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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11   MARIAM KIBARYAN,                                  Case No. CV 21-8838 PA (KSx)
12                        Plaintiff,                   JUDGMENT OF DISMISSAL
13
            v.
14
     MERCEDES-BENZ USA, LLC,
15
                          Defendant.
16
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18          In accordance with the Court’s December 6, 2021 Minute Order dismissing this
19   action for lack of prosecution, it is HEREBY ORDERED, ADJUDGED, AND DECREED
20   that the action is dismissed without prejudice.
21
22    DATED: December 6, 2021                           ___________________________________
                                                                   Percy Anderson
23                                                        UNITED STATES DISTRICT JUDGE

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